Case 2:03-Cv-02686-.]PI\/|-tmp Document 72 Filed 05/26/05 Page 1 of 2 Page|D 82

 
  

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IN THE UNITED sTATEs DISTRICT coURT T""-m“

FoR THE wEsTERN DISTRICT oF TENNESSQE;,FV ‘
-J\. rla '. y 0 , ,

wEsTERN DIvIsIoN PH*ZS lH |.27

 

DEBRA PRICE,r ROBERT TUCKERIr
AUBREY CARLISLElr MARVIN L.
NUTT, and all similarly
situated persons,

 

Plaintiffs,
v. No. 03-2686 Ml/P

ACOSTA, INC . ,

Defendant.

 

ORDER SETTING TELEPHON'E CONFER.ENCE

 

The Court will hold a telephone conference on Thursday, June
2, 2005, at 10:30 a.m. to discuss Plaintiffs' pending Motion for
Leave to Send Notice of Collective Action to Putative Class
Members. Plaintiffe' counsel shall initiate the telephone
conference by contacting the Court will all of the parties on the

line.

30 oRDERED this ¢Q(Q;h day of May, 2005.

@m(

JO P. MCCALLA
I'I‘ED STA'I‘ES DISTRICT JUDGE

 

 

This document entered on the docket eheet |n compliance
wéth Hule 58 and/or 79(3) FRCP on f `“ “ 75

 

 

May 26, 2005 to the partie

S listed.

F TNNESSEE

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Honorable J on McCalla
US DISTRICT COURT

